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                  United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 22-1015                                                 September Term, 2022
                                                            FILED ON: JULY 18, 2023
WYNNEWOOD REFINING COMPANY, LLC AND COFFEYVILLE RESOURCES REFINING &
MARKETING, LLC,
                 PETITIONERS
v.
ENVIRONMENTAL PROTECTION AGENCY,
                 RESPONDENT


Consolidated with 22-1051, 22-1053

                           On Petitions for Review of a Final Action
                            of the Environmental Protection Agency

       Before: SRINIVASAN, Chief Judge, PILLARD, Circuit Judge, and RANDOLPH, Senior
              Circuit Judge
                                     JUDGMENT
       These causes came on to be heard on the petitions for review of a final action of the
Environmental Protection Agency and were argued by counsel. On consideration thereof, it is
        ORDERED and ADJUDGED that the petitions for review be denied, in accordance with
the opinion of the court filed herein this date.
                                         Per Curiam


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk
                                                   BY:    /s/
                                                          Daniel J. Reidy
                                                          Deputy Clerk

Date: July 18, 2023
Opinion for the court filed by Circuit Judge Pillard.
Opinion concurring in the judgment filed by Senior Circuit Judge Randolph.
